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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                      WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA,

                       Plaintiff,             :       Case No. 3:10-cr-210 (23)

       - vs -
                                                      District Judge Walter H. Rice
FERNANDO SCHMIDT-ZAZUETA,                             Magistrate Judge Michael J. Newman

                       Defendant.             :



                            REPORT AND RECOMMENDATION




       The above-captioned action was referred to the undersigned under Fed. R. Crim. P. 59 for

arraignment and change of plea proceedings. Defendant orally consented to proceed before the

United States Magistrate Judge for this proceeding.

       The undersigned examined Defendant under oath as to his understanding of the Plea

Agreement and the effect of entering a plea pursuant to that Agreement. Having conducted the

colloquy, the Magistrate Judge is persuaded the Defendant understands the rights waived by entering

a guilty plea and is competent to do so. The Magistrate Judge also concludes that execution of the

Plea Agreement, which was acknowledged in open court, is Defendant’s voluntary, knowing, and

intelligent act. It is therefore respectfully recommended that the Plea Agreement be accepted.

       Defendant, having executed the Plea Agreement, tendered a plea of guilty to the offense(s)

charged in Count One of the Indictment. The Magistrate Judge concludes the guilty plea is knowing,

intelligent, and voluntary, and that the Statement of Facts made a part of the Plea Agreement, whose

truth Defendant acknowledged, provides a sufficient basis for a finding of guilt. It is therefore
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respectfully recommended that the guilty plea be accepted and Defendant be found guilty as charged

in Count One of the Fourth Superseding Indictment..

       Anticipating the District Court’s adoption of this Report and Recommendation, the

Magistrate Judge referred the Defendant for a pre-sentence investigation, continued his detention

without bond, and set sentencing for March 13, 2012, at 2:30 P.M. before Judge Rice in Courtroom

Number 1.


December 7, 2011                                              s/ Michael J. Newman
                                                            United States Magistrate Judge




                              NOTICE REGARDING OBJECTIONS
         Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections
to the proposed findings and recommendations within fourteen days after being served with this
Report and Recommendations. Pursuant to Fed. R. Civ. P. 6(e), this period is automatically
extended to seventeen days because this Report is being served by one of the methods of service
listed in Fed. R. Civ. P. 5(b)(2)(B), (C), or (D) and may be extended further by the Court on timely
motion for an extension. Such objections shall specify the portions of the Report objected to and
shall be accompanied by a memorandum of law in support of the objections. If the Report and
Recommendations are based in whole or in part upon matters occurring of record at an oral hearing,
the objecting party shall promptly arrange for the transcription of the record, or such portions of it
as all parties may agree upon or the Magistrate Judge deems sufficient, unless the assigned District
Judge otherwise directs. A party may respond to another party's objections within fourteen days
after being served with a copy thereof. Failure to make objections in accordance with this procedure
may forfeit rights on appeal. See United States v. Walters, 638 F. 2d 947 (6th Cir., 1981); Thomas
v. Arn, 474 U.S. 140 (1985).
